Case 2:13-cr-01075 Document 85-1

 

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

 

JORGE JUAN TORRES-LOPEZ

United States of America

Vv

CORPUS CHRISTI DIVISION

 

Criminal No. : 2:13CR1075

 

SENTENCING EXHIBIT LIST

 

List of United States of America

AUSA _JON MUSCHENHEIM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U.S. DISTRICT JUDGE Clerk: Reporter:
NELVA GONZALES RAMOS GENAY ROGAN
No. Description Ofr Obj Adm Date
] Petition of Government of Mexico for restoration of

Bermuda funds
2 InterNational Bank Records re Aircraft Sales
3 Chase Bank Records re Aircraft Sales
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